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                             UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF LOUISIANA

VIVIAN PATZ and MICHAEL PATZ       )                     CIVIL ACTION NO. 2:17-cv-03465
                                   )
       Plaintiffs                  )
                                   )                     SECTION “E” (1)
       vs.                         )
                                   )
SUREWAY SUPERMARKET, WALTER H. )                         JUDGE SUSIE MORGAN
MAPLES, INC., SHELLY JAMBON, DOES )
1-10, ABC INSURANCE COMPANIES 1-10 )                     MAGISTRATE JANIS van MEERVELD
                                   )
       Defendants                  )


               CORPORATE DISCLOSURE STATEMENT ON BEHALF OF
               WALTER H. MAPLES, INC. AND SHH PROPERTIES, L.L.C.

        NOW INTO COURT, through undersigned counsel, come Walter H. Maples, Inc. and SHH

Properties, L.L.C., who, in accordance with Federal Rule of Civil Procedure 7.1, tender the following

information referable to their corporate structure(s):

        Walter H. Maples, Inc., is a privately-held corporation, whose shareholders and officers are:

                        Shelly M. Jambon, sole shareholder, President
                        Harley K. Landry, Secretary

        SHH Properties, L.L.C., is a limited liability company, whose members are:

                        Shelly M. Jambon
                        Harley Landry
                        Holden Landry

                                        Respectfully submitted,

                                        STEPHENSON, CHÁVARRI & LAMBERT, LLC

                                        s/Sean R. Dawson
                                        Sean R. Dawson, LA Bar No. 19542
                                        Kathleen D. Lambert, LA Bar No. 19665
                                        400 Poydras Street, Suite 1990
                                        New Orleans, Louisiana 70130
                                        Tel.: (504) 523-6496
                                        Fax: (504) 525-2846
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                                  CERTIFICATE OF SERVICE

        I, Kathleen D. Lambert, do hereby certify that on December 19, 2017, that I electronically filed
the foregoing pleading with the Clerk of Court using the CM/ECF system which will send notification
of such filing to all counsel of record who are authorized to receive electronic servicing and a copy of
the foregoing has been served by email upon William Most, counsel for plaintiffs.


                                     /s/ Kathleen D. Lambert
                                        Kathleen D. Lambert
